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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                        CASE NO.

  MYCOSKIE, LLC,

                Plaintiff,

  vs.

  THE INDIVIDUALS, PARTNERSHIPS and
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A” and
  DOES 1-10,

                Defendants.
                                                  /


                 COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

         Plaintiff, Mycoskie, LLC (“Mycoskie” or “Plaintiff”), hereby sues Defendants, the

  Individuals, Partnerships and Unincorporated Associations identified on Schedule “A” hereto

  and Does 1-10 (collectively “Defendants”). Defendants are promoting, selling, offering for sale

  and distributing goods bearing counterfeits and confusingly similar imitations of Mycoskie’s

  TOMS trademarks within this district through various fully interactive commercial Internet

  websites operating under their individual, partnership and/or business association names

  identified on Schedule “A” hereto (the “Subject Domain Names”). In support of its claims,

  Mycoskie alleges as follows:

                                 JURISDICTION AND VENUE

         1.     This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, cybersquatting, common law unfair competition, and common law

  trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116, 1121, 1125(a), and 1125(d), and

  The All Writs Act, 28 U.S.C. § 1651(a). Accordingly, this Court has subject matter jurisdiction
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  over this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338. This Court has

  supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Mycoskie’s state law claims

  because the claims are so related to the federal claims that they form part of the same case or

  controversy.

         2.      Defendants are subject to personal jurisdiction in this district because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district through multiple fully interactive

  commercial Internet websites accessible in Florida, operating under the Subject Domain Names.

         3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391. Defendants are, upon

  information and belief, aliens who engage in infringing activities and cause harm within this

  district. Defendants have also advertised and offered to sell infringing products into this district.

                                          THE PLAINTIFF

         4.      Mycoskie, LLC is a California Limited Liability Company with its principal place

  of business at 4722 Bunny Run, Austin, Texas, 78746. TOMS Shoes, LLC (“TOMS”) is the

  exclusive licensee of Mycoskie, LLC. TOMS is a Delaware corporation with its principal place

  of business at 5404 Jandy Place, Los Angeles, California, 90066. Mycoskie, through its licensee,

  TOMS, is, in part, engaged in the business of distributing high quality goods, including, but not

  limited to, canvas shoes and footwear, throughout the world, including within this district, under

  multiple world famous common law and federally registered trademarks including the

  trademarks identified in Paragraph 18 below. TOMS offers for sale and sells its trademarked

  goods within this district. Defendants’ sales of counterfeit and infringing TOMS branded

  products are causing damage to TOMS within this Jurisdiction. Mycoskie regularly enforces its

  intellectual property rights and authorized this action be brought in its name.




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           5.    Like many other famous trademark owners in the footwear and accessories

  market, Mycoskie suffers ongoing daily and sustained violations of its trademark rights at the

  hands of counterfeiters and infringers, such as Defendants herein, who wrongfully reproduce and

  counterfeit Mycoskie’s TOMS trademarks for the twin purposes of (i) duping and confusing the

  consuming public and (ii) earning substantial profits.

           6.    In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, each year Mycoskie expends significant

  monetary resources in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement, such as field training guides,

  and seminars. The recent explosion of counterfeiting over the Internet has created an

  environment that requires companies such as Mycoskie to file a large number of lawsuits, often it

  later turns out, against the same individuals and groups, in order to protect both consumers and

  itself from the ill effects of confusion and the erosion of the goodwill associated with the TOMS

  brand.

                                        THE DEFENDANTS

           7.    Defendants operate through domain names registered with registrars in multiple

  countries, and are comprised of individuals, partnerships, and/or business entities of unknown

  makeup, whom, upon information and belief, reside and/or operate in other foreign jurisdictions,

  including the People’s Republic of China. Defendants have the capacity to be sued pursuant to

  Federal Rule of Civil Procedure 17(b). Defendants target their business activities towards

  consumers throughout the United States, including within this district through the simultaneous

  operation of fully interactive commercial Internet websites existing under the Subject Domain

  Names.




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         8.      Upon information and belief, Defendants use aliases in conjunction with the

  operation of their businesses, including but not limited to those identified by the same Defendant

  Number on Schedule “A” hereto.

         9.      Mycoskie is presently unaware of the true names of Does 1-10, although they are

  generally identified as the managing agents and/or co-conspirators of Defendants. Mycoskie will

  amend this Complaint upon discovery of the identities of such fictitious Defendants.

         10.     Upon information and belief, Defendants are directly and personally contributing

  to, inducing and engaging in the sale of counterfeit branded products as alleged herein, often

  times as partners, co-conspirators and/or suppliers.

         11.     Defendants are part of an ongoing scheme to create and maintain an illegal

  marketplace enterprise on the World Wide Web, which (i) confuses consumers regarding the

  source of Defendants’ goods for profit, and (ii) expands the marketplace for illegal, counterfeit

  TOMS branded goods while shrinking the legitimate marketplace for Mycoskie’s genuine

  TOMS-branded goods. The natural and intended byproduct of Defendants’ actions is the erosion

  and destruction of the goodwill associated with the TOMS name and associated trademarks, as

  well as the destruction of the legitimate market sector in which Mycoskie operates.

         12.     Defendants are the past and present controlling forces behind the operation of, at

  least, the Subject Domain Names.

         13.     Upon information and belief, Defendants directly engage in unfair competition

  with Mycoskie by (i) offering for sale and selling goods bearing counterfeits and infringements

  of one or more of Mycoskie’s TOMS trademarks to consumers within the United States and this

  district through multiple fully interactive commercial websites operating under the Subject

  Domain Names and additional domains and websites not yet known to Mycoskie and (ii)




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  creating and maintaining an illegal marketplace enterprise for the purpose of diverting business

  from Mycoskie’s legitimate marketplace for its genuine goods. Defendants have purposefully

  directed some portion of their illegal activities towards consumers in the State of Florida through

  the advertisement, offer to sell, sale, and shipment of counterfeit TOMS-branded goods into the

  State, and by operating an illegal marketplace enterprise which impacts and interferes with

  commerce throughout the United States, including within the State of Florida.

         14.     Upon information and belief, Defendants have registered, established or

  purchased, and maintained their respective Subject Domain Names and the websites operating

  thereunder. Upon information and belief, many Defendants have engaged in fraudulent conduct

  with respect to the registration of the Subject Domain Names by providing false and/or

  misleading information to their various registrars during the registration or maintenance process.

  Upon information and belief, many Defendants have anonymously registered and maintained

  their Subject Domain Names for the sole purpose of engaging in illegal counterfeiting activities.

         15.     Upon information and belief, Defendants will continue to register or acquire new

  domain names for the purpose of selling and offering for sale goods bearing counterfeit and

  confusingly similar imitations of Mycoskie’s TOMS trademarks unless preliminarily and

  permanently enjoined. Moreover, upon information and belief, Defendants will continue to

  maintain and grow their illegal marketplace enterprise at Mycoskie’s expense unless

  preliminarily and permanently enjoined.

         16.     Defendants’ entire Internet-based website businesses amount to nothing more

  than illegal operations established and operated in order to infringe the intellectual property

  rights of Mycoskie and others.




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         17.     Defendants’ business names, i.e., the Subject Domain Names and any other

  domain names used in connection with the sale of counterfeit and infringing goods bearing

  Mycoskie’s TOMS trademarks are essential components of Defendants’ counterfeiting and

  infringing activities and are the means by which Defendants further their counterfeiting and

  infringing scheme and cause harm to Mycoskie. Moreover, Defendants are using the famous

  Mycoskie and TOMS names and trademarks to drive Internet consumer traffic to their websites

  operating under the Subject Domain Names, thereby creating and increasing the value of the

  Subject Domain Names and decreasing the size and value of Mycoskie’s legitimate common

  marketplace at Mycoskie’s expense.

                             COMMON FACTUAL ALLEGATIONS

         Mycoskie’s Trademark Rights

         18.     Plaintiff, Mycoskie, LLC, is, and at all times relevant hereto has been, the

  registered owner and TOMS Shoes, LLC, is the exclusive licensee of the following trademarks,

  which are valid and registered on the Principal Register of the United States Patent and

  Trademark Office (collectively the “TOMS Marks”):


                          Registration      Registration
     Trademark                                                             Class / Goods
                           Number              Date

        TOMS               3,353,902        Dec. 11, 2007 IC 025 – Canvas shoes, shoes
                                                             IC 025 – Clothing, namely, canvas
        TOMS               3,566,093        Jan. 20, 2009    shoes, shoes, caps, shirts, t-shirts, and
                                                             hats

                                                          IC 025 – Baseball caps; caps; hats;
                           3,765,503        Mar. 23, 2010 canvas shoes; footwear for men and
                                                          women; shoes; and shirts




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                                                             IC 025 – Clothing, namely hats,
   ONE FOR ONE               4,204,485      Sep. 11, 2012    sweatshirts, hooded sweatshirts, t-shirts
                                                             and shoes
         The TOMS Marks are used in conjunction with the manufacture and distribution of

  quality goods in the categories identified above. True and correct copies of the Certificates of

  Registration for the TOMS Marks are attached hereto as Composite Exhibit “A.”

         19.       The TOMS Marks have been used in interstate commerce for nine years to

  identify and distinguish Mycoskie’s high quality goods for an extended period of time and serve

  as symbols of Mycoskie’s and TOMS’ quality, reputation and goodwill. All use of the TOMS

  Marks by TOMS inures to the benefit of Mycoskie as the owner of the Marks.

         20.       The TOMS Marks are symbols of Mycoskie’s quality, reputation, and goodwill

  and have never been abandoned.

         21.       Further, Mycoskie has expended substantial time, money, and other resources

  developing and otherwise promoting the TOMS Marks. The TOMS Marks qualify as famous

  marks as that term is used in 15 U.S.C. §1125(c)(1).

         22.       Mycoskie has extensively used and promoted the TOMS Marks in the United

  States in association with the sale of high quality goods and has carefully monitored and policed

  the use of the TOMS Marks.

         23.       As a result of Mycoskie’s efforts, members of the consuming public readily

  identify merchandise bearing or sold under the TOMS Marks, as being high quality goods

  sponsored and approved by Mycoskie.

         24.       Accordingly, the TOMS Marks have achieved secondary meaning as identifiers of

  quality goods.

         25.       Genuine TOMS-branded goods are widely legitimately discussed and promoted

  by Mycoskie. Over the course of the past nine years, visibility on the Internet, particularly via



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  Internet search engines such as Google, Yahoo!, and Bing has become increasingly important to

  Mycoskie’s overall marketing and consumer education efforts. Thus, Mycoskie expends

  significant monetary resources on Internet marketing and consumer education, including search

  engine optimization (“SEO”) strategies. Those strategies allow Mycoskie to fairly and

  legitimately educate consumers about the value associated with the TOMS brand and the goods

  sold thereunder.

         Defendants’ Infringing Activities

         26.     Upon information and belief, at all times relevant hereto, Defendants in this action

  have had full knowledge of Mycoskie’s ownership of the TOMS Marks, including its exclusive

  right to use and license such intellectual property and the goodwill associated therewith.

         27.     Defendants are promoting and advertising, distributing, selling, and/or offering

  for sale, goods in interstate commerce bearing counterfeits and confusingly similar imitations of

  the TOMS Marks (collectively, the “Counterfeit Goods”), through the fully interactive

  commercial Internet websites operating under the Subject Domain Names. True and correct

  copies of the web pages reflecting samples of the Internet websites operating under the Subject

  Domain Names are attached hereto as Composite Exhibit “B.” Specifically, upon information

  and belief, Defendants are using identical copies of the TOMS Marks for different quality goods.

  Mycoskie has used the TOMS Marks extensively and continuously before Defendants began

  offering counterfeit and confusingly similar imitations of Mycoskie’s TOMS merchandise.

         28.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

  substantially different than that of Mycoskie’s genuine TOMS goods. Defendants, upon

  information and belief, are actively using, promoting and otherwise advertising, distributing,

  selling, and/or offering for sale substantial quantities of their Counterfeit Goods with the




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  knowledge and intent that such goods will be mistaken for the genuine high quality products

  offered for sale by Mycoskie despite Defendants’ knowledge that they are without authority to

  use the TOMS Marks. The net effect of Defendants’ actions will cause confusion of consumers

  at the time of initial interest, sale, and in the post-sale setting, who will believe Defendants’

  Counterfeit Goods are genuine goods originating from, associated with, and approved by

  Mycoskie.

         29.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

  websites operating under at least the Subject Domain Names. In so advertising these products,

  Defendants improperly and unlawfully use the TOMS Marks without Mycoskie’s permission.

  Indeed, Defendants herein misappropriated Mycoskie’s methods of doing business with regard to

  the promotion and sale of Mycoskie’s genuine goods. Upon information and belief, the

  misappropriation of Mycoskie’s promotion ideas in the form of the TOMS Marks is the

  proximate cause of harm to Mycoskie.

         30.     As part of their overall infringement and counterfeiting scheme, Defendants are,

  upon information and belief, all concurrently employing substantially similar, and often times

  coordinated, paid advertising and SEO strategies based, in large measure, upon an illegal use of

  counterfeits and infringements of the TOMS Marks. Specifically, Defendants are using

  counterfeits of Mycoskie’s famous name and the TOMS Marks in order to make their websites

  selling illegal goods appear more relevant and attractive to search engines across an array of

  search terms. By their actions, Defendants have created an illegal marketplace operating in

  parallel to the legitimate marketplace for Mycoskie’s genuine TOMS goods. Defendants are

  causing concurrent and indivisible harm to Mycoskie and the consuming public by (i) depriving

  Mycoskie of its right to fairly compete for space within search engine results and reducing the




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  visibility of Mycoskie’s genuine goods on the World Wide Web, (ii) causing an overall

  degradation of the value of the goodwill associated with the TOMS Marks, (iii) increasing

  Mycoskie’s overall cost to market its goods and educate consumers about its brand via the

  Internet, and (iv) maintaining an illegal marketplace enterprise, which perpetuates the ability of

  Defendants and future entrants to that marketplace to confuse consumers and harm Mycoskie

  with impunity.

         31.       Upon information and belief, Defendants are concurrently conducting and

  targeting their counterfeiting and infringing activities toward consumers and causing harm,

  within this district and elsewhere throughout the United States. As a result, Defendants are

  defrauding Mycoskie and the consuming public for Defendants’ own benefit. Defendants’

  infringement and disparagement of Mycoskie does not simply amount to the wrong description

  of their goods or the failure of the goods to conform to the advertised quality or performance.

         32.       Defendants’ use of the TOMS Marks, including the promotion and advertisement,

  reproduction, distribution, sale, and offering for sale of their Counterfeit Goods, is without

  Mycoskie’s consent or authorization.

         33.       Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Mycoskie’s rights for the purpose of trading on Mycoskie’s goodwill and reputation. If

  Defendants’ intentional counterfeiting and infringing activities are not preliminarily and

  permanently enjoined by this Court, Mycoskie and the consuming public will continue to be

  harmed.

         34.       Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers, the public, and the trade before, during, and




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  after the time of purchase. Moreover, Defendants’ wrongful conduct is likely to create a false

  impression and deceive customers, the public, and the trade into believing there is a connection

  or association between Mycoskie’s genuine TOMS goods and Defendants’ Counterfeit Goods,

  which there is not.

         35.     Moreover, multiple Defendants have registered their respective Subject Domain

  Name(s) using marks that are nearly identical and/or confusingly similar to at least one of the

  TOMS Marks (collectively the “Cybersquatted Subject Domain Names”).

         36.     Defendants do not have, nor have they ever had, the right or authority to use the

  TOMS Marks. Further, the TOMS Marks have never been assigned or licensed to be used on any

  of the websites operating under the Cybersquatted Subject Domain Names.

         37.     Upon information and belief, Defendants have provided false and/or misleading

  contact information when applying for the registration of the Cybersquatted Subject Domain

  Names, or have intentionally failed to maintain accurate contact information with respect to the

  registration of the Cybersquatted Subject Domain Names.

         38.     Upon information and belief, Defendants have never used any of the

  Cybersquatted Subject Domain Names in connection with a bona fide offering of goods or

  services.

         39.     Upon information and belief, Defendants have not made any bona fide non-

  commercial or fair use of the TOMS Marks on a website accessible under any of the

  Cybersquatted Subject Domain Names.

         40.     Upon information and belief, Defendants have intentionally incorporated the

  TOMS Marks in their Cybersquatted Subject Domain Names to divert consumers looking for

  Mycoskie’s Internet website to their own Internet websites for commercial gain.




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         41.     Given the visibility of Defendants’ various websites and the similarity of their

  actions, including their SEO activities, it is clear Defendants are either related, or at a minimum,

  cannot help but know of each other’s existence and the damage likely to be caused to Mycoskie

  as a result of Defendants’ concurrent actions.

         42.     Although some Defendants may be acting independently, they may properly be

  deemed to be acting in concert because they are combining the force of their actions to multiply

  the harm caused to Mycoskie.

         43.     Mycoskie has no adequate remedy at law.

         44.     Mycoskie is suffering irreparable and indivisible injury and has suffered

  substantial damages as a result of Defendants’ unauthorized and wrongful use of the TOMS

  Marks. If Defendants’ counterfeiting, infringing, cybersquatting, unfairly competitive activities,

  and their illegal marketplace enterprise are not preliminarily and permanently enjoined by this

  Court, Mycoskie and the consuming public will continue to be harmed.

         45.     The harm and damage sustained by Mycoskie have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Counterfeit Goods and by the creation, maintenance and very existence of

  Defendants’ illegal marketplace enterprise.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         46.     Mycoskie hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 46 above.

         47.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeits, copies, and/or colorable imitations of the TOMS




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  Marks in commerce in connection with the promotion, advertisement, distribution, sale and/or

  offering for sale of the Counterfeit Goods.

         48.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale and distributing products bearing one or more of the TOMS Marks. Defendants

  are continuously infringing and inducing others to infringe the TOMS Marks by using them to

  advertise, promote sell and/or offer to sell goods bearing the TOMS Marks.

         49.     Defendants’ indivisible and concurrent counterfeiting and infringing activities are

  likely to cause and, actually are causing confusion, mistake, and deception among members of

  the trade and the general consuming public as to the origin and quality of Defendants’

  Counterfeit Goods.

         50.     Defendants’ unlawful actions have individually and jointly caused and are

  continuing to cause unquantifiable damage and irreparable harm to Mycoskie and are unjustly

  enriching Defendants at Mycoskie’s expense.

         51.     Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of the TOMS Marks in violation of Mycoskie’s rights under § 32 of the Lanham

  Act, 15 U.S.C. § 1114.

         52.     Mycoskie has suffered and will continue to suffer irreparable injury due to

  Defendants’ above described activities if Defendants are not preliminarily and permanently

  enjoined.

                    COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         53.     Mycoskie hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 46 above.




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         54.     Defendants’ Counterfeit Goods bearing and sold under copies of the TOMS

  Marks have been widely advertised and offered for sale throughout the United States.

         55.     Defendants’ Counterfeit Goods bearing and sold under copies of the TOMS

  Marks are virtually identical in appearance to each of Mycoskie’s genuine goods. However,

  Defendants’ Counterfeit Goods are different in quality. Accordingly, Defendants’ activities are

  likely to cause confusion in the trade and among the general public as to at least the origin or

  sponsorship of their Counterfeit Goods.

         56.     Defendants, upon information and belief, have used in connection with their

  advertisement, offer for sale, and sale of the Counterfeit Goods, false designations of origin and

  false descriptions and representations, including words or other symbols and trade dress which

  tend to falsely describe or represent such goods and have caused such goods to enter into

  commerce with full knowledge of the falsity of such designations of origin and such descriptions

  and representations, all to Mycoskie’s detriment.

         57.     Defendants have authorized infringing uses of the TOMS Marks in Defendants’

  advertisement and promotion of their counterfeit and infringing branded products. Defendants

  have also misrepresented to members of the consuming public that the Counterfeit Goods being

  advertised and sold by them are genuine, non-infringing products.

         58.     Additionally, Defendants are using counterfeits and infringements of the TOMS

  Marks in order to unfairly compete with Mycoskie and others for space within search engine

  organic results, thereby jointly depriving Mycoskie of a valuable marketing and educational tool

  which would otherwise be available to Mycoskie, and reducing the visibility of Mycoskie’s

  genuine goods on the World Wide Web.




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         59.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         60.     Mycoskie has no adequate remedy at law, and has sustained indivisible injury and

  damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this

  Court, Mycoskie will continue to suffer irreparable injury to its goodwill and business reputation

  as well as monetary damages.

                 COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
               PURSUANT TO §43(d) OF THE LANHAM ACT, 15 U.S.C. §1125(d)

         61.     Mycoskie hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 46 above.

         62.     At all times relevant hereto, Mycoskie has been and still is the owner of the rights,

  title and interest in and to the TOMS Marks.

         63.     Upon information and belief, Defendants have acted with the bad faith intent to

  profit from the TOMS Marks and the goodwill associated with the TOMS Marks by registering

  and using the Cybersquatted Subject Domain Names.

         64.     The TOMS Marks were distinctive and famous at the time Defendants registered

  the Cybersquatted Subject Domain Names.

         65.     The Cybersquatted Subject Domain Names are identical to, confusingly similar

  to, or dilutive of at least one of the TOMS Marks.

         66.     Defendants have no intellectual property rights in or to the TOMS Marks.

         67.     Defendants’ conduct is done with knowledge and constitutes a willful violation of

  Mycoskie’s rights in the TOMS Marks. At a minimum, Defendants’ conduct constitutes reckless

  disregard for and willful blindness to Mycoskie’s rights.




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         68.     Defendants’ actions constitute cybersquatting in violation of §43(d) of the

  Lanham Act, 15 U.S.C. §1125(d).

         69.     Mycoskie has no adequate remedy at law.

         70.     Mycoskie has suffered and will continue to suffer irreparable injury due to the

  above described activities of Defendants if Defendants are not preliminarily and permanently

  enjoined.

                       COUNT IV – COMMON LAW UNFAIR COMPETITION

         71.     Mycoskie hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 46 above.

         72.     This is an action against Defendants based on their (i) promotion, advertisement,

  distribution, sale, and/or offering for sale of goods bearing marks which are virtually identical,

  both visually and phonetically, to the TOMS Marks, and (ii) creation and maintenance of an

  illegal, ongoing marketplace enterprise operating in parallel to the legitimate marketplace in

  which Mycoskie sells its genuine goods, in violation of Florida’s common law of unfair

  competition.

         73.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale and distributing infringing and counterfeit TOMS-branded products. Defendants

  are also using counterfeits and infringements of the TOMS Marks to unfairly compete with

  Mycoskie and others for (i) space in search engine results across an array of search terms and (ii)

  visibility on the World Wide Web.

         74.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ products by their use of the TOMS Marks.




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           75.   Mycoskie has no adequate remedy at law and is suffering irreparable injury and

  damages as a result of Defendants’ actions.

                      COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

           76.   Mycoskie hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 46 above.

           77.   This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

  bearing the TOMS Marks. Mycoskie is the owner of all common law rights in and to the TOMS

  Marks.

           78.   Specifically, Defendants, upon information and belief, are manufacturing,

  promoting and otherwise advertising, distributing, offering for sale, and selling goods bearing

  infringements of the TOMS Marks.

           79.   Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ Counterfeit Goods bearing the TOMS Marks.

           80.   Mycoskie has no adequate remedy at law and is suffering damages and irreparable

  injury as a result of Defendants’ actions

                                      PRAYER FOR RELIEF

           81.   WHEREFORE, Mycoskie demands judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief, jointly and severally, against Defendants as

  follows:

                 a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 15

  U.S.C. § 1116 and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents,




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  representatives, servants, employees, and all those acting in concert or participation therewith,

  from manufacturing or causing to be manufactured, importing, advertising or promoting,

  distributing, selling or offering to sell their Counterfeit Goods; from infringing, counterfeiting, or

  diluting the TOMS Marks; from using the TOMS Marks, or any mark or trade dress similar

  thereto, in connection with the sale of any unauthorized goods; from using any logo, trade name,

  trademark or trade dress which may be calculated to falsely advertise the services or products of

  Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

  Mycoskie; from falsely representing themselves as being connected with Mycoskie, through

  sponsorship or association, or engaging in any act which is likely to falsely cause members of the

  trade and/or of the purchasing public to believe any goods or services of Defendants, are in any

  way endorsed by, approved by, and/or associated with Mycoskie; from using any reproduction,

  counterfeit, infringement, copy, or colorable imitation of the TOMS Marks in connection with

  the publicity, promotion, sale, or advertising of any goods sold by Defendants; from affixing,

  applying, annexing or using in connection with the sale of any goods, a false description or

  representation, including words or other symbols tending to falsely describe or represent

  Defendants’ goods as being those of Mycoskie, or in any way endorsed by Mycoskie and from

  offering such goods in commerce; from engaging in search engine optimization strategies using

  colorable imitations of Mycoskie’s name or the TOMS Marks; and from otherwise unfairly

  competing with Mycoskie.

                 b.      Entry of temporary, preliminary, and permanent injunctions pursuant to 28

  U.S.C §1651(a), The All Writs Act, enjoining Defendants and all third parties from creating,

  maintaining, operating, joining, participating in, including providing financial, technical or other




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  support to, the World Wide Web based illegal marketplace for the sale and distribution of or

  distribute non-genuine goods bearing counterfeits of the TOMS Marks.

                 c.     Entry of an order that, upon Mycoskie’s request, those in privity with

  Defendants and those with notice of the injunction, including any Internet search engines, Web

  hosts, domain-name registrars and domain-name registries or their administrators that are

  provided with notice of the injunction, cease facilitating access to any or all domain names and

  websites through which Defendants engage in the promotion, offering for sale and/or sale of

  goods using counterfeits and/or infringements of the TOMS Marks.

                 d.     Entry of an order that, upon Mycoskie’s request, the top level domain

  (TLD) Registry for each of the Subject Domain Names or their administrators, including

  backend registry operators or administrators, place the Subject Domain Names on Registry Hold

  status for the remainder of the registration period for any such domain name, thus removing them

  from the TLD zone files which link the Subject Domain Names to the IP addresses where the

  associated websites are hosted.

                 e.     Entry of an order canceling for the life of the current registration or, at

  Mycoskie’s election, transferring the Subject Domain Names and any other domain names used

  by Defendants to engage in their counterfeiting of the TOMS Marks at issue to Mycoskie’s

  control so they may no longer be used for illegal purposes.

                 f.     Entry of an order requiring Defendants to account to and pay Mycoskie for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing

  activities and that the award to Mycoskie be trebled, as provided for under 15 U.S.C. §1117, or,

  at Mycoskie’s election with respect to Count I, that Mycoskie be awarded statutory damages

  from each Defendant in the amount of two million dollars ($2,000,000.00) per each counterfeit




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  trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                 g.      Entry of an order requiring the relevant Defendants to account to and pay

  Mycoskie for all profits and damages resulting from those Defendants’ cybersquatting activities

  and that the award to Mycoskie be trebled, as provided for under 15 U.S.C. §1117, or, at

  Mycoskie’s election with respect to Count III, that Mycoskie be awarded statutory damages from

  the relevant Defendants in the amount of one hundred thousand dollars ($100,000.00) per

  cybersquatted domain name used as provided by 15 U.S.C. §1117(d) of the Lanham Act.

                 h.      Entry of an award of Mycoskie’s costs and reasonable attorneys’ fees and

  investigative fees associated with bringing this action.

                 i.      Entry of an award of pre-judgment interest on the judgment amount.

                 j.      Entry of an order for any further relief as the Court may deem just and

  proper.

  DATED: July 28, 2015.                         Respectfully submitted,

                                                STEPHEN M. GAFFIGAN, P.A.

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                             SCHEDULE “A”
             DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                 Defendant Number          Subject Domain Name
                         1          2015tomsonsale.com
                         1          2015viptoms.com
                         1          officialtomsoutletstore.com
                         1          toms2015onsale.com
                         2          actionsportsagency.co.uk
                         2          blackrosherunukshop.co.uk
                         2          prolibour.com
                         3          ameratexenergy.us
                         4          bagsite.net
                         5          beautytomsshoes.com
                         6          besttomsshoesmall.com
                         7          billigesalg.com
                         7          kjoptomsnorge.com
                         8          buymytomsau.com
                         9          cheapstomsoutlet2014.com
                         9          cheapstomsoutlets2014.com
                         9          cheaptomsonline2014.com
                         9          tomsoutletonlineclassics.com
                         9          tomsoutletonlinesshoe.com
                         9          tomsoutletonlinesshoes.com
                         9          tomsoutletsonlineclassics.com
                         9          tomstoresoutlets.com
                         9          cheaptomsoutlets2014.com
                         9          tomsoutletsshoesonlines.com
                         9          tomsoutletclassicsonlines.com
                        10          cheaptoms-outlet-sale.com
                        10          tomsshoes-outlet.net
                        11          cheaptomsshoescanda.com
                        11          lojsp.com
                        11          mytomsoutlet.com
                        11          shoestomsonline.com
                        11          tomsshoes2u.com
                        11          tomssportreport.com
                        12          coolcanvasguide.com
                        12          freshtomsmall.com
                        12          tomsshoptrade.com



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                 Defendant Number          Subject Domain Name
                        12          wintertomsmall.com
                        13          dontgetittwisted.org
                        13          jackdeheer.com
                        13          m2xnet.net
                        13          tomsoutletstore2014.com
                        13          shoesoutlet2015.com
                        13          toms2015.com
                        13          tomscheapshoe.com
                        13          tomsoutletstore2015.com
                        13          tomsoutletstoreonline.net
                        14          enbag1.com
                        14          shxjm.xyz
                        15          gotomsshoesoutlet.com
                        16          hottestshoetrends.com
                        16          made-in-ar.com
                        16          thefineshoes.com
                        17          land-send.co.uk
                        18          myshoehub.net
                        19          notosko.com
                        19          tomsone.net
                        19          tomsono.com
                        19          tomsscarpeit.com
                        19          tomstosko.com
                        19          skotoms.com
                        20          ordershoesworks.com
                        20          shoesnewsdiscount.com
                        21          orsimcha.org
                        21          topcanvas.org
                        21          tomsfactorysale.org
                        22          percyisland.com
                        23          promoshoesforsale.com
                        24          saletomsonline4u.us
                        25          shoestomsoutle.com
                        25          tomsoutlethot.com
                        25          tomsshopsale.com
                        25          tomsstoresshoes.com
                        26          sleekshoemall.com
                        26          tomscanvas2015.com




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                 Defendant Number         Subject Domain Name
                        27          sneakers4u.net
                        28          tomoutlets.com
                        28          tomsusza.org
                        29          toms19.com
                        29          tomsofficaluk.com
                        29          toms-sko.net
                        29          toms-online.com
                        30          toms2buy.com
                        31          tomsamsterdam.nl
                        32          tomsbeautyshoes.com
                        33          tomsnewfashion.com
                        34          tomsoslobarnsko.com
                        34          tomsoslonorge.com
                        35          tomsoutlet.name
                        35          tomsshoesoutletonline.name
                        36          tomsoutletpro.com
                        37          tomsschuhe.de
                        38          tomsshoearea.com
                        39          tomsshoemallonline.com
                        40          tomsshoeoutletonline.com
                        41          tomsshoeoutlets.com
                        42          tomsshoesbar.com
                        43          tomsshoesmarket.com
                        44          tomsshoesofficial.com
                        45          toms-shoes-online.com
                        46          tomsshoes-outletonline.com
                        47          tomsshoesred.com
                        48          tomsskonorge.net
                        49          tomsvip.com
                        50          womenshoesfactory.org




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